                  Case 12-06017-RLM-13                                     Doc 1           Filed 05/21/12                      EOD 05/21/12 11:59:43                        Pg 1 of 46
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                          Southern District of Indiana                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                  Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hauk, Jeffrey Scott                                                                                           Hauk, Mandy Ann


All Other Names used by the Debtor in the last 8 years                                                       All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                  (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                (if more than one, state all)
  xxx-xx-9903                                                                                                   xxx-xx-8451
Street Address of Debtor (No. and Street, City, and State):                                                  Street Address of Joint Debtor (No. and Street, City, and State):
  815 Catalpa Drive                                                                                            815 Catalpa Drive
  Anderson, IN                                                                                                 Anderson, IN
                                                                                            ZIP Code                                                                                        ZIP Code
                                                                                          46013                                                                                         46013
County of Residence or of the Principal Place of Business:                                                   County of Residence or of the Principal Place of Business:
  Madison                                                                                                       Madison
Mailing Address of Debtor (if different from street address):                                                Mailing Address of Joint Debtor (if different from street address):


                                                                                            ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                        Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                     Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                      Chapter 15 Petition for Recognition
                                                                                                                             Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                 of a Foreign Main Proceeding
                                                                                                                             Chapter 11
     Partnership                                                    Railroad
                                                                                                                             Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                             Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                                Nature of Debts
                   Chapter 15 Debtors
                                                                            Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                        Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                     defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                     "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                       a personal, family, or household purpose."

                                Filing Fee (Check one box)                                     Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must              Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                    are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                               Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                   A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                    in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                     THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-         5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000         10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million       million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001    $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10        to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million       million        million       million
             Case 12-06017-RLM-13                        Doc 1            Filed 05/21/12            EOD 05/21/12 11:59:43                           Pg 2 of 46
B1 (Official Form 1)(12/11)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Hauk, Jeffrey Scott
(This page must be completed and filed in every case)                                   Hauk, Mandy Ann
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Southern District of Indiana                           08-03769-AJM-13                       4/04/08
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ William J. Schenck                                     May 21, 2012
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              William J. Schenck 18247-53

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Hauk, Jeffrey Scott
(This page must be completed and filed in every case)                                       Hauk, Mandy Ann
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jeffrey Scott Hauk                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jeffrey Scott Hauk

 X    /s/ Mandy Ann Hauk                                                                       Printed Name of Foreign Representative
     Signature of Joint Debtor Mandy Ann Hauk
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     May 21, 2012
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ William J. Schenck
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      William J. Schenck 18247-53                                                              debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Bankruptcy Law Office of Mark S. Zuckerberg
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      333 N. Pennsylvania Street
      Suite 100                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Indianapolis, IN 46204                                                                   an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      317-687-0000
     Telephone Number
     May 21, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
             Jeffrey Scott Hauk
 In re       Mandy Ann Hauk                                                                                    Case No.
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $8,340.00                         2012 YTD: Husband Lifestyle Group, Inc
                          $24,198.75                        2011: Husband Lifestyle Group, Inc
                          $2,219.45                         2011: Husband Reese Kitchens
                          $637.52                           2011: Husband Pendleton Jr. Baseball Assoc
                          $3,625.76                         2010: Husband Premium Home Improvement
                          $3,250.00                         2010: Husband Allisonville, LLC
                          $8,903.04                         2010: Husband Reese Kitchens
                          $2,110.00                         2010: Husband Indiana Kitchen Co.
                          $2,335.00                         2010: Husband Accent Cabinet Co.


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                                                                                                                                                             2

                        AMOUNT                              SOURCE
                        $2,726.50                           2010: Husband Indiana Restoration Services
                        $360.00                             2012 YTD: Wife Reese Kitchens
                        $9,345.45                           2012 YTD: Wife Knowling & Tetrault, Inc
                        $8,960.25                           2011: Wife Knowling & Tetrault, Inc
                        $16,829.29                          2011: Wife Premium Home Improvement
                        $20,556.88                          2010: Wife Premium Home Improvement

              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $2,772.00                           2010: Wife Unemployment
                        $2,985.00                           2010: Husband Unemployment
                        $17,237.56                          2010: Husband IRA Distribution

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                                                                                                                                                           3

             4. Suits and administrative proceedings, executions, garnishments and attachments

   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
Chase v. Hauk                                                          Foreclosure       Madison County                                 Pending
48D01-0804-MF-00340

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT
East Side Church of God                                   Place of Worship                   Over Past Year          $800.00




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                                                                                                                                                            4

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY
Bankruptcy Law Office of Mark S. Zuckerb                               9/23/2011                                    $699.00 Already paid with
333 N. Pennsylvania                                                                                                 $2,801.00 to be paid through
Indianapolis, IN 46204                                                                                              the Chapter 13 Plan. $281.00
                                                                                                                    Filing Fees, $20.00 Credit
                                                                                                                    Counseling Fees paid.

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                   AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                         OR CLOSING




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                                                                                                                                                              5

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW


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                                                                                                                                                             6
   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Haukeye Installation            9903                             815 Catalpa Drive              Remodeling                       2004 to 4/2011
                                                                 Anderson, IN 46013

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.




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                                                                                                                                                              7


NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                    ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY




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                                                                                                                                                          8

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                                   9

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date May 21, 2012                                                      Signature   /s/ Jeffrey Scott Hauk
                                                                                   Jeffrey Scott Hauk
                                                                                   Debtor


Date May 21, 2012                                                      Signature   /s/ Mandy Ann Hauk
                                                                                   Mandy Ann Hauk
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re          Jeffrey Scott Hauk,                                                                      Case No.
                Mandy Ann Hauk
                                                                                                    ,
                                                                                   Debtors               Chapter                         13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                  47,900.00


B - Personal Property                                     Yes             4                  13,451.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             2                                         97,499.00


E - Creditors Holding Unsecured                           Yes             2                                          1,724.93
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             4                                         34,463.62
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       3,869.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       2,878.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                18


                                                                    Total Assets             61,351.00


                                                                                     Total Liabilities             133,687.55




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
 In re           Jeffrey Scott Hauk,                                                                                 Case No.
                 Mandy Ann Hauk
                                                                                                          ,
                                                                                       Debtors                       Chapter               13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              1,724.93

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                   30,829.48

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                        32,554.41


             State the following:

             Average Income (from Schedule I, Line 16)                                                        3,869.00

             Average Expenses (from Schedule J, Line 18)                                                      2,878.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         5,163.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                 44,099.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                               625.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                            34,463.62

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        78,562.62




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B6A (Official Form 6A) (12/07)


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 In re         Jeffrey Scott Hauk,                                                                                Case No.
               Mandy Ann Hauk
                                                                                                      ,
                                                                                     Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                           Nature of Debtor's          Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                        Interest in Property        Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption

Location: 815 Catalpa Drive, Anderson IN (3 BR, 1                         Tenancy By The Entirety         J                  47,900.00                 90,046.00
BA, Built in 1923, Purchased in 2000 for $55,000.00)




                                                                                                      Sub-Total >            47,900.00        (Total of this page)

                                                                                                              Total >        47,900.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Jeffrey Scott Hauk,                                                                                Case No.
               Mandy Ann Hauk
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

1.    Cash on hand                                        Cash on Hand                                                       J                              1.00

2.    Checking, savings or other financial                Indiana FCU - Savings                                              J                           450.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household Goods                                                    J                        4,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       Books, CDs, Pictures                                               J                           300.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                           J                           500.00

7.    Furs and jewelry.                                   Misc. Jewelry                                                      J                           200.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term life policy.                                                  J                              0.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                             Sub-Total >            5,451.00
                                                                                                                 (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Jeffrey Scott Hauk,                                                                                Case No.
               Mandy Ann Hauk
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    IRA                                                                J                              0.00
    other pension or profit sharing
    plans. Give particulars.                              401(K)                                                             J                              0.00

                                                          401(K)                                                             J                              0.00

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                 2011 tax refund received and spent                                 J                              0.00
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Jeffrey Scott Hauk,                                                                                Case No.
               Mandy Ann Hauk
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2006 Impala                                                        J                        4,500.00
    other vehicles and accessories.
                                                          2002 Astro Van                                                     J                        1,000.00

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              (1) Cat, (2) Dogs                                                  J                              0.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X




                                                                                                                             Sub-Total >            5,500.00
                                                                                                                 (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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             Case 12-06017-RLM-13                          Doc 1         Filed 05/21/12        EOD 05/21/12 11:59:43                   Pg 19 of 46
B6B (Official Form 6B) (12/07) - Cont.




 In re         Jeffrey Scott Hauk,                                                                                Case No.
               Mandy Ann Hauk
                                                                                                      ,
                                                                                     Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

35. Other personal property of any kind                   Hand Tools, Power Tools                                             J                       2,500.00
    not already listed. Itemize.




                                                                                                                             Sub-Total >            2,500.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >         13,451.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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              Case 12-06017-RLM-13                          Doc 1           Filed 05/21/12        EOD 05/21/12 11:59:43                           Pg 20 of 46
 B6C (Official Form 6C) (4/10)


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  In re         Jeffrey Scott Hauk,                                                                                    Case No.
                Mandy Ann Hauk
                                                                                                           ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Location: 815 Catalpa Drive, Anderson IN (3                               Ind. Code § 34-55-10-2(c)(1)                                     0.00                     47,900.00
BR, 1 BA, Built in 1923, Purchased in 2000 for
$55,000.00)

Cash on Hand
Cash on Hand                                                              Ind. Code § 34-55-10-2(c)(6)                                     1.00                             1.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Indiana FCU - Savings                             Ind. Code § 34-55-10-2(c)(3)                                                         450.00                           450.00

Household Goods and Furnishings
Household Goods                                                           Ind. Code § 34-55-10-2(c)(2)                               4,000.00                         4,000.00

Books, Pictures and Other Art Objects; Collectibles
Books, CDs, Pictures                                Ind. Code § 34-55-10-2(c)(2)                                                       300.00                           300.00

Wearing Apparel
Clothing                                                                  Ind. Code § 34-55-10-2(c)(2)                                 500.00                           500.00

Furs and Jewelry
Misc. Jewelry                                                             Ind. Code § 34-55-10-2(c)(2)                                 200.00                           200.00

Interests in Insurance Policies
Term life policy.                                                         Ind. Code §§ 27-1-12-14, 27-2-5-1(c)                             0.00                             0.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
IRA                                                 Ind. Code § 34-55-10-2(c)(6)                                                       275.00                               0.00

401(K)                                                                    Ind. Code § 34-55-10-2(c)(6) s                           16,752.00                                0.00

401(K)                                                                    Ind. Code § 34-55-10-2(c)(6)                             25,562.00                                0.00

Other Liquidated Debts Owing Debtor Including Tax Refund
2011 tax refund received and spent               Ind. Code § 34-55-10-2(c)(3)                                                              0.00                             0.00

Automobiles, Trucks, Trailers, and Other Vehicles
2006 Impala                                                               Ind. Code § 34-55-10-2(c)(2)                                     0.00                       4,500.00

2002 Astro Van                                                            Ind. Code § 34-55-10-2(c)(2)                                     0.00                       1,000.00

Animals
(1) Cat, (2) Dogs                                                         Ind. Code § 34-55-10-2(c)(2)                                     0.00                             0.00

Other Personal Property of Any Kind Not Already Listed
Hand Tools, Power Tools                           Ind. Code § 34-55-10-2(c)(2)                                                       2,500.00                         2,500.00




                                                                                                           Total:                  50,540.00                        61,351.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         Jeffrey Scott Hauk,                                                                                        Case No.
                Mandy Ann Hauk
                                                                                                              ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W               NATURE OF LIEN, AND                        I    Q   U                            PORTION, IF
                                                        T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                   OF PROPERTY
                                                        R
                                                                               SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxxx1694                                          2000                                                        E
                                                                                                                            D

Chase Home Finance                                              First Mortgage
PO Box 78116
                                                              Location: 815 Catalpa Drive, Anderson
Phoenix, AZ 85062-8116
                                                            J IN (3 BR, 1 BA, Built in 1923, Purchased
                                                              in 2000 for $55,000.00)
                                                                Value $                                47,900.00                          72,472.00                24,572.00
Account No.

Feiwell & Hannoy
PO Box 44141                                                     Chase Home Finance                                                    Notice Only
Indianapolis, IN 46204


                                                                Value $
Account No. xxxxxx1702                                          2000

Chase Home Finance                                              Second Mortgage
PO Box 78116
                                                              Location: 815 Catalpa Drive, Anderson
Phoenix, AZ 85062-8116
                                                            J IN (3 BR, 1 BA, Built in 1923, Purchased
                                                              in 2000 for $55,000.00)
                                                                Value $                                47,900.00                          17,574.00                17,574.00
Account No. xxx1938                                             2007

First Merchants Bank                                            Vehicle Loan
200 E. Jackson Street
Muncie, IN 47305                                                2006 Impala
                                                            J

                                                                Value $                                 4,500.00                           5,569.00                  1,069.00
                                                                                                                    Subtotal
 1
_____ continuation sheets attached                                                                                                        95,615.00                43,215.00
                                                                                                           (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Jeffrey Scott Hauk,                                                                                       Case No.
                Mandy Ann Hauk
                                                                                                             ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                      I    Q   U
                                                                                                                                      DEDUCTING
                                                        T   J                                                         N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                           G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxx2-601                                          2007                                                       E
                                                                                                                           D

Madison County Federal CU                                       Vehicle Loan
621 E. 8th Street
Anderson, IN 46012                                              2002 Astro Van
                                                            J

                                                                Value $                                1,000.00                          1,884.00               884.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                              Subtotal
                                                                                                                                         1,884.00               884.00
Schedule of Creditors Holding Secured Claims                                                              (Total of this page)
                                                                                                                     Total              97,499.00           44,099.00
                                                                                           (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Jeffrey Scott Hauk,                                                                                                Case No.
               Mandy Ann Hauk
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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 B6E (Official Form 6E) (4/10) - Cont.




  In re         Jeffrey Scott Hauk,                                                                                      Case No.
                Mandy Ann Hauk
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     Taxes                                                     E
                                                                                                                          D

IDR
PO Box 2305                                                                                                                                          Unknown
Indianapolis, IN 46206-2305
                                                            J

                                                                                                                                         1,099.93            Unknown
Account No.

IDR
100 N. Senate Avenue                                             IDR                                                                  Notice Only
Room N240 - Bankruptcy
Indianapolis, IN 46204


Account No.                                                     Property Taxes

Madison County Treasurer
16 E. 9th Street                                                                                                                                     0.00
Anderson, IN 46016
                                                            J

                                                                                                                                           625.00                625.00
Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            1,724.93                625.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)              1,724.93                625.00

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 B6F (Official Form 6F) (12/07)


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  In re         Jeffrey Scott Hauk,                                                                                      Case No.
                Mandy Ann Hauk
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U    D
                  CREDITOR'S NAME,                                   O                                                                      O   N    I
                  MAILING ADDRESS                                    D    H                                                                 N   L    S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I    P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q    U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U    T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I    E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D    D
                                                                                                                                            N   A
Account No. xxxxxxxx3092                                                      2010                                                          T   T
                                                                                                                                                E
                                                                              Medical Services                                                  D

Ameripath Diagnostics
14872 Collections Center Drive                                            H
Chicago, IL 60693-0148

                                                                                                                                                                         150.00
Account No. xxxxx2073                                                         2010
                                                                              Collection
AT&T
c/o Southwest Credit                                                      J
PO Box 14
Fort Mill, SC 29716-0014
                                                                                                                                                                         108.03
Account No. xxxx7225                                                          2010
                                                                              Collections/See Above Creditors
AT&T
c/o Enhanced Recovery Company,                                            J
LLC
PO Box 1259, Dept. 98696
Oaks, PA 19456                                                                                                                                                               0.00
Account No. xxxxxx1096                                                        2010
                                                                              Medical Services
Express Scripts
PO Box 66580                                                              W
Saint Louis, MO 63166-6580

                                                                                                                                                                         226.33

                                                                                                                                        Subtotal
 3
_____ continuation sheets attached                                                                                                                                       484.36
                                                                                                                              (Total of this page)




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  In re         Jeffrey Scott Hauk,                                                                                  Case No.
                Mandy Ann Hauk
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U    D
                  CREDITOR'S NAME,                                   O                                                              O   N    I
                  MAILING ADDRESS                                    D    H                                                         N   L    S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I    P
                                                                     B                                                              I   Q    U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U    T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I    E
                 (See instructions above.)                           R                                                              E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxx-xxx-xxx-1785                                               2007                                                      E
                                                                              Revolving Charge                                          D

Fashion Bug
PO Box 856021                                                             J
Louisville, KY 40285

                                                                                                                                                               637.29
Account No. xxxxx54-18

Morgan & Pottinger
2601 N.W. Expressway - Ste 205 East                                           Fashion Bug                                                                Notice Only
Oklahoma City, OK 73112-7229



Account No. xxxx-xx-00-48                                                     2011
                                                                              Services
Geico Insurance
One Geico Center                                                          J
Macon, GA 31296-0001

                                                                                                                                                                 95.15
Account No. xxxx-xxxx-xxxx-0843                                               2007
                                                                              Revolving Charge
Home Depot
Processing Center                                                         J
Des Moines, IA 50364-0500

                                                                                                                                                               667.85
Account No. xxx-xxxx-xxx6-393                                                 2007
                                                                              Revolving Charge
Lowe's
PO Box 530914                                                             J
Atlanta, GA 30353-0914

                                                                                                                                                               462.86

           1
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                             1,863.15
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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              Case 12-06017-RLM-13                          Doc 1             Filed 05/21/12               EOD 05/21/12 11:59:43            Pg 27 of 46
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Jeffrey Scott Hauk,                                                                                  Case No.
                Mandy Ann Hauk
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                        C   U    D
                  CREDITOR'S NAME,                                   O                                                              O   N    I
                  MAILING ADDRESS                                    D    H                                                         N   L    S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                   T   I    P
                                                                     B                                                              I   Q    U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U    T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.               G   I    E
                 (See instructions above.)                           R                                                              E   D    D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxx-xxxxx907.1                                                    2007                                                      E
                                                                              Medical Services                                          D

Madison County Imaging
PO Box 11588, Lockbox H                                                   J
Fort Wayne, IN 46859

                                                                                                                                                               178.20
Account No. x8404                                                             2010
                                                                              Medical Services
Mina Swoffard
2101 Jackson Street                                                       H
Anderson, IN 46016-4386

                                                                                                                                                               325.00
Account No. xxxx26-01                                                         2007
                                                                              Medical Services
Personal Finance Company
2100 N. Broadway                                                          J
PO Box 8
Anderson, IN 46012
                                                                                                                                                               169.82
Account No. xxxxxxx466-9                                                      2007
                                                                              Student Loan
Sallie Mae Services
PO Box 9500                                                               J
Wilkes-Barre, PA 18773-9500

                                                                                                                                                           30,829.48
Account No. xxxxx0768                                                         2007
                                                                              Medical Services
St. John's Health Systems
Patient Financial Services                                                J
2015 Jackson Street
Anderson, IN 46016
                                                                                                                                                               613.61

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                           32,116.11
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Jeffrey Scott Hauk,                                                                                      Case No.
                Mandy Ann Hauk
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U    D
                  CREDITOR'S NAME,                                   O                                                                   O   N    I
                  MAILING ADDRESS                                    D    H                                                              N   L    S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I    P
                                                                     B                                                                   I   Q    U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U    T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I    E
                 (See instructions above.)                           R                                                                   E   D    D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No.                                                                                                                                  E
                                                                                                                                             D

Medicredit Corporation
PO Box 411187                                                                 St. John's Health Systems                                                       Notice Only
Saint Louis, MO 63141



Account No.




Account No.




Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                        0.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                 34,463.62


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B6G (Official Form 6G) (12/07)


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 In re             Jeffrey Scott Hauk,                                                                         Case No.
                   Mandy Ann Hauk
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Jeffrey Scott Hauk,                                                                     Case No.
                Mandy Ann Hauk
                                                                                                ,
                                                                                  Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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         Case 12-06017-RLM-13                   Doc 1       Filed 05/21/12           EOD 05/21/12 11:59:43                      Pg 31 of 46


B6I (Official Form 6I) (12/07)
          Jeffrey Scott Hauk
 In re    Mandy Ann Hauk                                                                                Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         10
                                             Daughter                                                    13
Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Carpenter
Name of Employer                    The Lifestyle Group, Inc.                                Knowling & Tetrault, Inc
How long employed                   Since 04/2011                                            8 months
Address of Employer                 6230 Southeastern Avenue                                 504 E. 38th Street
                                    Indianapolis, IN 46203                                   Anderson, IN 46013
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                      SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $        2,880.00            $     2,483.00
2. Estimate monthly overtime                                                                           $            0.00            $         0.00

3. SUBTOTAL                                                                                              $         2,880.00         $        2,483.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             565.00       $         375.00
     b. Insurance                                                                                        $               0.00       $         554.00
     c. Union dues                                                                                       $               0.00       $           0.00
     d. Other (Specify):                                                                                 $               0.00       $           0.00
                                                                                                         $               0.00       $           0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             565.00       $         929.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,315.00         $        1,554.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00       $           0.00
8. Income from real property                                                                             $               0.00       $           0.00
9. Interest and dividends                                                                                $               0.00       $           0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00       $           0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00       $           0.00
                                                                                                         $               0.00       $           0.00
12. Pension or retirement income                                                                         $               0.00       $           0.00
13. Other monthly income
(Specify):                                                                                               $               0.00       $           0.00
                                                                                                         $               0.00       $           0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00       $           0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,315.00         $        1,554.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $              3,869.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Husband has been unemployed for over a year. Self Employment income is sporadic at best, above income is
         anticipated income for husband.
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B6J (Official Form 6J) (12/07)
          Jeffrey Scott Hauk
 In re    Mandy Ann Hauk                                                                      Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                      0.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   210.00
                   b. Water and sewer                                                                       $                    81.00
                   c. Telephone                                                                             $                   185.00
                   d. Other Cable & Internet                                                                $                   114.00
3. Home maintenance (repairs and upkeep)                                                                    $                    25.00
4. Food                                                                                                     $                   632.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    40.00
7. Medical and dental expenses                                                                              $                   150.00
8. Transportation (not including car payments)                                                              $                   420.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                   120.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                   550.00
                   d. Auto                                                                                  $                   127.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Pet Expenses                                                                                      $                    70.00
    Other Gym Membership                                                                                    $                    54.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                  2,878.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                  3,869.00
b. Average monthly expenses from Line 18 above                                                              $                  2,878.00
c. Monthly net income (a. minus b.)                                                                         $                    991.00
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                                                           United States Bankruptcy Court
                                                                 Southern District of Indiana
            Jeffrey Scott Hauk
 In re      Mandy Ann Hauk                                                                                       Case No.
                                                                                Debtor(s)                        Chapter    13


                                                BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                     $               0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                $                     0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                        $               0.00
          4. Payroll Taxes                                                                                                   0.00
          5. Unemployment Taxes                                                                                              0.00
          6. Worker's Compensation                                                                                           0.00
          7. Other Taxes                                                                                                     0.00
          8. Inventory Purchases (Including raw materials)                                                                   0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                          0.00
          10. Rent (Other than debtor's principal residence)                                                                 0.00
          11. Utilities                                                                                                      0.00
          12. Office Expenses and Supplies                                                                                   0.00
          13. Repairs and Maintenance                                                                                        0.00
          14. Vehicle Expenses                                                                                               0.00
          15. Travel and Entertainment                                                                                       0.00
          16. Equipment Rental and Leases                                                                                    0.00
          17. Legal/Accounting/Other Professional Fees                                                                       0.00
          18. Insurance                                                                                                      0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                               0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                            $                     0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                          $                     0.00




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                           United States Bankruptcy Court
                                                                  Southern District of Indiana
            Jeffrey Scott Hauk
 In re      Mandy Ann Hauk                                                                                  Case No.
                                                                                   Debtor(s)                Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         20
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 21, 2012                                                     Signature   /s/ Jeffrey Scott Hauk
                                                                                   Jeffrey Scott Hauk
                                                                                   Debtor


 Date May 21, 2012                                                     Signature   /s/ Mandy Ann Hauk
                                                                                   Mandy Ann Hauk
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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        Jeffrey Scott Hauk
In re   Mandy Ann Hauk                                                       Case No.
                                                      Debtor(s)
                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION


                                           Chapter 13 Case No.______________________

Jeffrey Scott Hauk and Mandy Ann Hauk _, Debtor

Attorney for Debtor:         William J. Schenck

                                   STATEMENT PURSUANT TO RULE 2016(b)

The undersigned, pursuant to Bankruptcy Rule 2016(b), states that:

        1.    The undersigned is the attorney for debtor in this case.

        2.    The compensation paid or agreed to be paid by the debtor to the undersigned is:

             a)  For legal services rendered or to be rendered in contemplation of and in
                connection with this case                                   $3,500.00
             b) Prior to the filing of this statement, debtor has paid      $ 699.00
             c) The unpaid balance due and payable is                       $2,801.00

        3.    $__281.00___ of the Filing Fee has been paid.

        4.    $   20.00       of the Credit Counseling Service fee has been paid.

        5.    The services rendered or to be rendered include the following:

             REFER TO THE ATTACHED GUIDELINDES FOR PAYMENT OF ATTORNEY’S FEES & THE RIGHTS AND
             RESPONSIBILITIES STATEMENT

        6.    The source of payments made by the debtor to the undersigned was from earnings,
             wages and compensation for service performed, and

        7.    The source of payments to be made by the debtor to the undersigned for the
             unpaid balance remaining, if any, will be from earnings, wages and compensation
             for services performed, and

        8.    The undersigned has received no transfer, assignment or pledge of property from
             debtor except the following for the value stated:

        9.    The undersigned has not shared or agreed to share with any other entity, other
             than with the members of the undersigned’s law firm, any compensation paid or to
             be paid except as follows:________________________________

        Dated:                             Attorney for Debtor: /s/William J. Schenck

                                           Printed:     William J. Schenck______________
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                                                               United States Bankruptcy Court
                                                                       Southern District of Indiana
            Jeffrey Scott Hauk
 In re      Mandy Ann Hauk                                                                                Case No.
                                                                                   Debtor(s)              Chapter    13



       RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

        It is important for debtors who file a bankruptcy case under Chapter 13 to understand their rights and
responsibilities. It is also important that debtors know what their attorney's responsibilities are and understand
the importance of communicating with their attorney to make the case successful. Debtors should also know
that they may expect certain services to be performed by their attorney. In order to assure that debtors and
attorneys understand their rights and responsibilities in the bankruptcy process, the following guidelines
provided by the Court are hereby agreed to by the debtors and their attorney.

BEFORE THE CASE IS FILED

The debtor agrees to:
         1.     Provide the attorney with complete, accurate and current financial information.
         2.     Discuss with the attorney the debtor's objectives in filing the case.
         3.     Disclose any previous bankruptcies filed in the previous 8 years.
         4.     Unless excused under 11 U.S.C. § 109(h), receive a briefing from an approved nonprofit budget and
credit counseling agency and provide the attorney with a copy of the certificate from the agency showing such
attendance, as well as a copy of the debt repayment plan, if any, developed through the agency.
         5.     Disclose to the attorney any and all domestic support obligations.
The attorney agrees to:
         1.      Meet with the debtor to review the debtor's debts, assets, liabilities, income and expenses.
         2.      Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case, provide
debtor with the notice required under 11 U.S.C. § 342(b) if applicable, discuss both procedures with the debtor and
answer the debtor's questions.
         3.      Explain what payments will be made to creditors directly by the debtor and what payments will be made
through the Chapter 13 plan, with particular attention to mortgage and vehicle loan payments, any other debts that accrue
interest, domestic support obligations and leases.
         4.      Explain to the debtor how, when and where to make payments, pursuant to the plan, to the Chapter 13
trustee and of the necessity to include the debtor's case number, name and current address on each payment item.
         5.      Explain to the debtor how the attorney and trustee's fees are paid and provide an executed copy of this
document to the debtor.
         6.      Explain to the debtor that the first payment due under Chapter 13 must be made to the trustee within 30
days of filing of the bankruptcy petition.
         7.      Advise the debtor of the requirement to attend the Section 341 Meeting of Creditors and instruct the
debtor as to the date, time and place of the meeting and of the necessity to bring both picture identification and proof of
the debtor's social security number to the meeting.
         8.      Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
leased vehicles or those securing loans, and of the obligation to bring copies of the declaration page(s) documenting such
insurance to the Meeting of Creditors.
         9.      Advise debtors engaged in business of the necessity to maintain liability insurance, workers
compensation insurance, if required, and any other insurance coverage required by law.

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 Case Name: Jeffrey Scott Hauk
 Mandy Ann Hauk                                                                  Case No.

      10.      Timely prepare and file the debtor's petition, plan, statements, schedules, and any other papers or
documents required under the Bankruptcy Code.

AFTER THE CASE IS FILED
           The debtor agrees to:
           1.       Timely make all required payments to the Chapter 13 trustee that first become due 30 days after the case
      is filed. Also, if required, turn over any tax refunds, personal injury settlement proceeds or any other property as
      requested by the trustee.
           2.       Timely make all post-petition payments due to mortgage lenders, holders of domestic support
      obligations, lessors, and any other creditor that debtor agreed or is obligated to pay directly.
           3.       Cooperate with the attorney in the preparation of all pleadings and attend all hearings as required.
           4.       Keep the trustee, attorney, and Court informed of any changes to the debtor's address and telephone
      number.
           5.       Prepare and file any and all federal, state and local tax returns within 30 days of filing the petition.
           6.       Inform the attorney of any wage garnishments or attachments of assets which occur or continue to occur
      after the filing of the case.
           7.       Contact the attorney promptly with any information regarding changes in employment, increases or
      decreases in income or other financial problems or changes.
           8.       Contact the attorney promptly if the debtor acquires any property after the petition is filed. Such
      property might include, but is not limited to, personal injury proceeds, inheritances, lottery winnings, etc.
           9.       Inform the attorney if the debtor is sued during the case.
           10.      Inform the attorney if any tax refunds to which the debtors are entitled are seized or not returned to the
      debtor by the IRS, the Indiana Department of Revenue or any other taxing authority.
           11.      Contact the attorney to determine whether court approval is required before buying, refinancing or selling
      real property or before entering into any long-term loan agreement.
           12.      Pay any filing fees and courts costs directly to the attorney.
           13.      If the requirements of 11 U.S.C. § 109(h) were waived by the Court when the case was first filed, receive
      a briefing from an approved nonprofit budget and credit counseling agency within 30 days of the case being filed
      (unless the Court, for cause, extends such time) and provide counsel with the certificate from the agency stating that
      the debtor attended such briefing.
           14.      Unless such attendance is excused under 11 U.S.C. § 1328(f), complete an instructional course
      concerning personal financial management and shall promptly submit to the debtor's attorney a signed and completed
      Certification of Completion of Instruction Course Concerning Personal Financial Management.
           15.      Cooperate fully with any audit conducted pursuant to 28 U.S.C. § 586(a).
           16.      After all plan payments have been made, and if the debtor is eligible for a discharge, timely provide
      counsel with the information needed to complete any documents required by the Court before a discharge will be
      entered.
          The attorney agrees to provide the following legal services:
          1.      Appear at the Section 341 Meeting of Creditors with the debtor.
          2.      Respond to objections to plan confirmation and, where necessary, prepare an amended plan.
          3.      Timely submit properly documented profit and loss statements, tax returns and proof of income when
      requested by the trustee.
          4.      Prepare, file and serve necessary modifications to the plan.
          5.      Prepare, file and serve necessary amended statements and schedules, in accordance with information
      provided by the debtor.
                                                                               2
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 Case Name: Jeffrey Scott Hauk
 Mandy Ann Hauk                                                                  Case No.

          6.      Prepare, file and serve necessary motions to buy, sell or refinance property when appropriate.
          7.      Object to improper or invalid claims, if necessary, based upon documentation provided by the debtor or
      trustee.
          8.      Represent the debtor in motions for relief from stay and motions to dismiss and/or convert.
          9.      Where appropriate, prepare, file, serve and notice motions to avoid liens on real or personal property.
          10.     Be available to respond to debtor's questions throughout the life of the plan.
          11.     Negotiate with any creditor holding a claim against the debtor that is potentially nondischargeable to
      determine if the matter can be resolved prior to litigation. Discuss with debtor the cost and advisability of litigating
      the dischargeability of the claim. The attorney is not required, however, to represent the debtor in any adversary
      proceeding to determine the nondischargeability of any debt pursuant to these Rights and Responsibilities.
          12.     Represent the debtor with respect to any audit conducted pursuant to 28 U.S.C. § 586(a).
          13.     After all plan payments have been made, and if the debtor is eligible for a discharge, prepare, file and
      serve any documents required by the Court before a discharge will be entered.

         The total fee charged in this case is $ 3,500.00 . If this fee later proves to be insufficient to compensate the
attorney for the legal services rendered in the case, the attorney has the right to apply to the court for any additional
attorney fees. Fees shall be paid through the plan unless otherwise ordered. The attorney may not receive additional fees
directly from the debtor other than the initial retainer. If an attorney has elected to be compensated pursuant to these
guidelines, but the case is dismissed or converted prior to confirmation of the plan, absent contrary order, the trustee shall
pay to the attorney, to the extent funds are available, an administrative claim equal to 50% of the unpaid fee balance if a
properly documented fee claim (for the entire fee balance) has been filed by the attorney and served upon the trustee.

        If the debtor disputes the legal services provided or the fees charged by the attorney, an objection must be filed
with the Court.



 Dated:        May 21, 2012                                                  /s/ Jeffrey Scott Hauk
                                                                             Jeffrey Scott Hauk
                                                                             Debtor

 Dated:        May 21, 2012                                                  /s/ Mandy Ann Hauk
                                                                             Mandy Ann Hauk
                                                                             Debtor

 Dated:        May 21, 2012                                                  /s/ William J. Schenck
                                                                             William J. Schenck 18247-53
                                                                             Attorney for Debtor(s)




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B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF INDIANA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
           Jeffrey Scott Hauk
 In re     Mandy Ann Hauk                                                                                  Case No.
                                                                                 Debtor(s)                 Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Jeffrey Scott Hauk
Mandy Ann Hauk                                                                     X /s/ Jeffrey Scott Hauk                     May 21, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

Case No. (if known)                                                                X /s/ Mandy Ann Hauk                         May 21, 2012
                                                                                     Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                 Southern District of Indiana
           Jeffrey Scott Hauk
 In re     Mandy Ann Hauk                                                                                Case No.
                                                                                  Debtor(s)              Chapter    13




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: May 21, 2012                                                     /s/ Jeffrey Scott Hauk
                                                                       Jeffrey Scott Hauk
                                                                       Signature of Debtor

Date: May 21, 2012                                                     /s/ Mandy Ann Hauk
                                                                       Mandy Ann Hauk
                                                                       Signature of Debtor




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                           JEFFREY SCOTT HAUK
                           815 CATALPA DRIVE
                           ANDERSON, IN 46013




                           MANDY ANN HAUK
                           815 CATALPA DRIVE
                           ANDERSON, IN 46013




                           WILLIAM J. SCHENCK
                           BANKRUPTCY LAW OFFICE OF MARK S. ZUCKERBERG
                           333 N. PENNSYLVANIA STREET
                           SUITE 100
                           INDIANAPOLIS, IN 46204



                           JEFFREY SCOTT HAUK
                           815 CATALPA DRIVE
                           ANDERSON, IN 46013




                           AMERIPATH DIAGNOSTICS
                           14872 COLLECTIONS CENTER DRIVE
                           CHICAGO, IL 60693-0148




                           AT&T
                           C/O SOUTHWEST CREDIT
                           PO BOX 14
                           FORT MILL, SC 29716-0014




                           AT&T
                           C/O ENHANCED RECOVERY COMPANY, LLC
                           PO BOX 1259, DEPT. 98696
                           OAKS, PA 19456
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                       CHASE HOME FINANCE
                       PO BOX 78116
                       PHOENIX, AZ 85062-8116




                       EXPRESS SCRIPTS
                       PO BOX 66580
                       SAINT LOUIS, MO 63166-6580




                       FASHION BUG
                       PO BOX 856021
                       LOUISVILLE, KY 40285




                       FEIWELL & HANNOY
                       PO BOX 44141
                       INDIANAPOLIS, IN 46204




                       FIRST MERCHANTS BANK
                       200 E. JACKSON STREET
                       MUNCIE, IN 47305




                       GEICO INSURANCE
                       ONE GEICO CENTER
                       MACON, GA 31296-0001




                       HOME DEPOT
                       PROCESSING CENTER
                       DES MOINES, IA 50364-0500
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                       IDR
                       PO BOX 2305
                       INDIANAPOLIS, IN 46206-2305




                       IDR
                       100 N. SENATE AVENUE
                       ROOM N240 - BANKRUPTCY
                       INDIANAPOLIS, IN 46204




                       LOWE'S
                       PO BOX 530914
                       ATLANTA, GA 30353-0914




                       MADISON COUNTY FEDERAL CU
                       621 E. 8TH STREET
                       ANDERSON, IN 46012




                       MADISON COUNTY IMAGING
                       PO BOX 11588, LOCKBOX H
                       FORT WAYNE, IN 46859




                       MADISON COUNTY TREASURER
                       16 E. 9TH STREET
                       ANDERSON, IN 46016




                       MEDICREDIT CORPORATION
                       PO BOX 411187
                       SAINT LOUIS, MO 63141
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                       MINA SWOFFARD
                       2101 JACKSON STREET
                       ANDERSON, IN 46016-4386




                       MORGAN & POTTINGER
                       2601 N.W. EXPRESSWAY - STE 205 EAST
                       OKLAHOMA CITY, OK 73112-7229




                       PERSONAL FINANCE COMPANY
                       2100 N. BROADWAY
                       PO BOX 8
                       ANDERSON, IN 46012




                       SALLIE MAE SERVICES
                       PO BOX 9500
                       WILKES-BARRE, PA 18773-9500




                       ST. JOHN'S HEALTH SYSTEMS
                       PATIENT FINANCIAL SERVICES
                       2015 JACKSON STREET
                       ANDERSON, IN 46016
